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                     IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE EASTERN DISTRICT OF MISSOURI (SAINT LOUIS)

 IN RE:
 Shannel R. Ballard Moore
 aka Shannel Ruby Ballard
                                                      Case No. 18-42931-705
                Debtors,                              Chapter 7

 Select Portfolio Servicing, Inc. as
 servicer for, Deutsche Bank National
 Trust Company, as Trustee, on behalf
 of the holders of the J.P. Morgan
 Mortgage Acquisition Trust 2007-CH5
 Asset Backed Pass-Through Certificates,
 Series 2007-CH5
                 Creditor,

 Tracy A. Brown
              Trustee.


        ORDER GRANTING CREDITOR'S MOTION FOR RELIEF FROM STAY

        The Court has considered the record and determined that cause exists, and that Movant is

 otherwise entitled to relief requested in this motion. Therefore,

        IT IS ORDERED that the Movant's request for relief from the automatic stay is granted;

 and that Movant may enforce its rights against the property described as:
        LOT 135 OF LOWER LADUE HILLS, A SUBDIVISION IN ST. LOUIS
        COUNTY, ACCORDING TO THE PLAT THEREOF RECORDED IN PLAT
        BOOK 57, PAGE 2 OF THE ST. LOUIS COUNTY RECORDS.
        COMMONLY KNOW AS 3959 THOMAS DRIVE, SAINT LOUIS MO 63134

        Movant, its successors and assigns in interest, may enforce all rights to possession of the

 premises under the terms of the deed of trust and in accordance with applicable non-bankruptcy

 state law; including but not limited to any and all necessary foreclosure and eviction procedures

 and that for such purpose, the automatic stay of 11 U.S.C. '362 is terminated; and this order

 shall survive the conversion of Debtor’s case to a Chapter 13 proceeding; the Trustee's interest in

 the subject real property is hereby abandoned; and any and all attorney's fees requested in
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 Movant's motion or awarded at a hearing on said motion are hereby granted, and all other relief

 not heretofore specifically ruled upon is hereby denied as moot.

         IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that Creditor=s Motion

 for Relief from the Automatic Stay is hereby granted and that the Trustee=s interest in the subject

 real property is hereby abandoned.




   DATED: July 17, 2018                                         CHARLES E. RENDLEN, III
   St. Louis, Missouri 63102                                      U.S. Bankruptcy Judge
   mtc




 Respectfully Submitted By:

 /s/ Brandon T. Pittenger
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 ATTORNEY FOR CREDITOR

 Copy served via ECF to those parties receiving ECF notice and mailed via U.S. Postal Service to
 the parties listed below to:

 Shannel R. Ballard Moore
 aka Shannel Ruby Ballard
 3959 Thomas Drive
 Saint Louis, MO 63134
 DEBTOR
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 TRUSTEE

 /s/ Brandon T. Pittenger
